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             NO. 23-1260
                      IN THE UNITED STATES COURT OF APPEALS
                              FOR THE SECOND CIRCUIT


   HACHETTE BOOK GROUP, INC., HARPERCOLLINS PUBLISHERS LLC,
     JOHN WILEY & SONS INC., and PENGUIN RANDOM HOUSE LLC,
                         Plaintiff-Appellee,

                                                v.

                   INTERNET ARCHIVE and DOES 1 through 5, inclusive,
                               Defendant-Appellants.


                          On Appeal from the United States District Court
                              for the Southern District of New York



BRIEF OF AMICI CURIAE KEVIN L. SMITH AND WILLIAM M. CROSS
          IN SUPPORT OF APPELLANTS AND REVERSAL


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              STATEMENT OF INTEREST OF AMICI CURIAE

      Amici curiae are library and information scholars and historians with deep

expertise regarding libraries and archives, the laws that govern them, and the roles

they play in society. Amici submit this brief in support of defendant Internet

Archive’s appeal of the United States District Court’s decision that Internet

Archive’s implementation of a controlled digital lending (“CDL”) program

constituted copyright infringement. Amici urge the court to consider the CDL

program at issue against the backdrop of the long history of libraries and in the

context of their evolving role as institutions that support and enhance democracy.12

      Amici are uniquely positioned to understand the issues at hand from diverse

perspectives.3 Both have been leaders in addressing copyright concerns for

libraries, archives, universities, publishers, museums, and other institutions. They


1
 Pursuant to Fed. R. App. P. 29(a)(4)(E), amici curiae certify that no party’s
counsel authored this brief in whole or in part; no party or party’s counsel
contributed money that was intended to fund preparing or submitting this brief; and
no person—other than the amici curiae, their members, or their counsel—
contributed money that was intended to fund preparing or submitting this brief.
2
 Pursuant to Fed. R. App. P. 29(a)(2), amici curiae certify that counsel for
defendant-appellant Internet Achive and counsel for plaintiffs-appellees have
consented to the filing of this brief.
3
  The views articulated in this brief are solely those of the amici and not
necessarily the opinions or beliefs of the amici’s employers or clients. Amici have
no direct financial interest in the outcome of this case but strongly believe that the
law must continue to support, rather than impede, innovation in furtherance of
independent and free access to information.
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are authors of numerous published works, including articles and other writings that

have been scanned and shared by libraries, as well as books available for purchase

and that pay royalties to the authors.4 One of the amici, Kevin L. Smith, is the

director of libraries at Colby College. Kevin Smith, Colby College,

https://www.colby.edu/people/people-directory/kevin-smith/ (last visited Oct. 4,

2023). Previously, he served as the director of a university press and worked to

restore the financial health of the press. Id. William M. Cross is the Director of the

Open Knowledge Center and the head of Information Policy at North Carolina

State University. Will Cross, NC State University Libraries,

https://www.lib.ncsu.edu/staff/wmcross (last visited Nov. 30, 2023). As a

Fulbright-Schuman Innovation fellow, he studied copyright and open knowledge

practices in the EU, and he develops numerous educational materials on copyright

and open education. See Id; The Libraries’ Will Cross receives a Fulbright to study

open knowledge and copyright across the EU, NC State University Libraries (May

10, 2022), https://www.lib.ncsu.edu/news/main-news/libraries-will-cross-receives-

fulbright-study-open-knowledge-and-copyright-across-eu (last visited Dec. 18,

2023).



4
 See, e.g., Kevin L. Smith, Owning and Using Scholarship: An Intellectual
Property Handbook for Scholars (2014); Coaching Copyright (Kevin L. Smith &
Erin L. Ellis eds., 2019); Maria Bonn, Josh Bolick, and William Cross, Scholarly
Communication Librarianship and Open Knowledge (2023).
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                          SUMMARY OF ARGUMENT

      This case asks whether libraries may advance to serve the evolving needs of

our increasingly digital world. Throughout history, libraries safeguarded

democracy by preserving knowledge and providing public access to information

necessary for meaningful participation in a democratic society. To fulfill this

longstanding purpose, libraries dynamically evolved with their readers. What was

once a discriminatory, guarded institution reserved for affluent scholars now

provides information, entertainment, and health services as a center for community

gathering. Since the 1950s, libraries have actively adapted to the development of

digital technology, servicing patrons with search engines, digital catalogs, and

electronic copies. During the COVID-19 pandemic, people’s need to access

information online increased more than ever, and libraries turned to digital

solutions, such as CDL.

      CDL technology5 is a natural, necessary next step in libraries’ evolution. It is

far from an unprecedented departure from traditional library functions. Just as



5
  “CDL enables a library to circulate a digitized title in place of a physical one in a
controlled manner…replicating with digital lending the legal and economically
significant aspects of physical lending.” Using technical measures to manage user
access, “a library may only loan simultaneously the number of copies that it has
legitimately acquired” by maintaining a 1:1 ratio of owned to loaned copies. David
Hansen & Kyle Courtney, A White Paper on Controlled Digital Lending of Library
Books, Controlled Digital Lending by Libraries (2018),
https://controlleddigitallending.org/whitepaper (last visited Dec. 18, 2023).
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patron lending in the nineteenth century and Internet access in the late-twentieth

century allowed libraries to meet the evolving needs of their readers, CDL offers

libraries a means to meet today’s pressing demands while considering the

underlying commercial interest of publishers. The need for these efforts has never

been greater: in an age when misinformation runs rife and extremism and

inequality are on the rise, libraries are a chief recourse of truth-minded citizens. In

this context, CDL provides a crucial mechanism through which libraries can

continue their efforts.

      This Court’s decision and its analysis of legal issues related to CDL will

impact the public’s access to information in the modern world. This case,

therefore, presents the Court with an opportunity to protect and reaffirm libraries’

importance and value. A ruling that rejects or limits CDL could pose a

fundamental threat to libraries’ contributions as stewards of the variety of inquiry

and expression on which our democracy and culture depend. William R. Gordon,

Advocacy for Democracy I, in Libraries and Democracy 203 (Nancy Kranich ed.,

2001).




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                                   ARGUMENT

I.    The library has a long history of providing vital support for a more
      egalitarian, democratic, and civically engaged society; CDL represents
      the latest of a series of adaptations in service of these values.

      A.     Libraries safeguard democracy and promote civic engagement.

      The library’s role as a beacon of enlightenment and bulwark against

oppression has ancient roots. The Great Library of Alexandria made the city

famous as the intellectual capital of the Western world more than a thousand years

before the invention of the printing press. Stuart Murray, The Library: An

Illustrated History 15-17 (2009). Resources maintained by libraries have long

served as channels through which intellectual inheritance is handed down. They

are also the principal mechanism for intellectual growth and testing of new ideas.

Candace D. Morgan, Challenges and Issues Today, in Intellectual Freedom

ManuaL 37 (8th ed. 2010). Without access to information stewarded by libraries,

democracy itself quickly becomes “a hollow concept.” Nancy Kranich, Libraries

and Democracy Revisited, 90 Libr. Q. 121, 131 (2020). As the Supreme Court

acknowledged in Board of Education v. Pico, 457 U.S. 853, 868 (1982), the ability

of citizens to freely access information through libraries prepares them for active

and effective civic participation and makes it possible for them to meaningfully

exercise their rights of free speech and press.




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      The founders recognized the role of libraries as bastions of democracy even

before the nation’s founding. Benjamin Franklin, who established the first

subscription library in America, opined that “libraries have improved the general

conversation of the Americans, made the common tradesmen and farmers as

intelligent as most gentlemen from other countries, and perhaps have contributed

in some degree to the stand so generally made throughout the colonies in defense

of their privileges.” Benjamin Franklin, The Autobiography of Benjamin Franklin:

1706-1757 105 (Applewood Books ed. 2008). James Madison echoed these

sentiments, arguing that “a popular government without popular information or

means of acquiring it is but a prologue to a farce or tragedy or perhaps both.” From

James Madison to William T. Barry, 4 August 1822, Founders Online, National

Archives, https://founders.archives.gov/documents/Madison/04-02-02-0480 (last

visited Dec. 20, 2023).6

      In the modern era, libraries bear a unique responsibility to provide quality

information to the public. No other institution offers so much information, so

freely, to so many. While private companies (including publishers) play an


6
  Thomas Jefferson was also a firm believer in ensuring the flow of information.
Notably, Jefferson went so far as to oppose copyright terms, even those as short as
fourteen years, writing that “the benefit of even limited [copyright] monopolies is
too doubtful to be opposed to that of their general suppression.” From Thomas
Jefferson to James Madison, 31 July 1788, Founders Online, National Archives,
https://founders.archives.gov/documents/Jefferson/01-13-02-0335 (last visited
Dec. 20, 2023).
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important role in facilitating the distribution of information, they are primarily

driven by commercial interests rather than the public good. It is libraries that

safeguard the public’s interests: at libraries, readers can pursue their inquiries at

zero cost, free from private control.

      For libraries to fulfill this unique role in the digital space, CDL is necessary.

Without CDL, private companies would have the power to control exclusively the

dissemination of digital materials. CDL is the latest effort by libraries to “promote

the kind of discourse that makes democracy possible.” Nancy Kranich, Libraries,

the New Media, and the Political Process, in Libraries and Democracy 108, 109

(Nancy Kranich ed. 2001).

      B.     The evolution of the American library has consistently reflected
             an active pursuit of democratic ideals in a changing world.

      CDL represents a stepping stone on the public library’s storied path toward

greater accessibility. Framed as such, current opposition against CDL is

comparable to attitudes that opposed the libraries’ evolution throughout history.

Libraries were first met with opposition when they transformed from elitist,

inaccessible institutions to current American public libraries that welcome patrons

irrespective of race, gender, age, or class background. In that process, libraries had

to adopt new printing and copying technology to meet their patrons’ increasing

needs. Publishers pushed back. Yet, libraries continued to progress with us because

society recognized their value and affirmed their efforts to change to meet the

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needs of the time. Libraries have evolved alongside broader social and

technological progress throughout history and should continue to innovate with

society as a whole.

             1.       Though founded with democratic ideals, libraries were
                      initially exclusive institutions that had to expand
                      throughout the nineteenth century to support public access.

      Despite their idealistic origins, libraries at the time of America’s founding

were private, elite institutions largely only accessible to white, land-owning men.

The emergence of more truly “public” libraries was directly paralleled by growing

emphasis on expanding public knowledge and its consequent impact on civic

activity. Kathleen Molz & Phyllis Dain, Civic Space/Cyberspace: The American

Public Library in the Information Age 3-4 (1999). In the mid-nineteenth century,

the private subscription libraries of earlier eras—which often limited access to a

select few, included only books deemed morally suitable, and frowned upon the

inclusion of potentially damaging novels—began to give way to public, tax-

supported libraries with larger and more controversial catalogs. Susan Orlean, The

Library Book 124-128 (2018).

      Conceived as “civilizing agents and objects of civic pride in a raw new

country,” these statute-authorized, tax-supported libraries were required by law to

advance democratic ideals such as free and broad access to the widest variety of

information and ideas. Molz & Dain, supra. Of course, these changes did not go


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uncontested: just as CDL has prompted its share of hand-wringing, nineteenth

century expansions in access often prompted unwarranted concerns about negative

societal impacts and a senseless panic about the potential transmission of diseases

through books. Gerald Greenberg, Books as Disease Carriers, 23 Libraries &

Culture 281 (1988).

      Despite these anxieties, state and national legislatures quickly encoded the

importance of the public library. Historian Sidney Ditzion cites an unused draft

preamble to the 1851 Massachusetts Library Law as reflecting the “full

understanding of the mind of the Massachusetts legislature” in its recognition that

diffusion of knowledge—conducive to “preservation of freedom” as well as “moral

advancement and elevation”—was best accomplished by founding public libraries.

Sidney Ditzion, Arsenals of a Democratic Culture; a Social History of the

American Public Library Movement in New England and the Middle States from

1850 to 1900 18 (1947). In a similar vein, the 1852 Boston Public Library Trustee

Report argued that “it is [of] paramount importance that the means of general

information should be so diffused that the largest possible number of persons

should be induced to read.” Boston Public Library, Report of the Trustees of the

Public Library of the City of Boston, July, 1852 (1852).




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             2.     Expanded public library access was crucial in the twentieth
                    century fight against fascism.

      As the American public library system continued to adapt and mature

through the nineteenth and twentieth centuries, it became a vital source of free

access to quality information in the face of fascism and totalitarianism. As the

shadow of war stretched across Europe, American commentators lauded libraries

for providing high-quality information that could check the growth of domestic

extremism. Franklin D. Roosevelt opined that libraries “are directly and

immediately involved in the conflict which divides our world” due to their role in a

democratic society and status as “great tools of scholarship, the great repositories

of culture, and the great symbols of the freedom of the mind.” See Miriam Intrator,

UNESCO, Reconstruction, and Pursuing Peace through a “Library-Minded”

World, 1945-1950, in A History of UNESCO 131, 131 (Poul Duedahl ed., 2016).

E.B. White, author of Stuart Little and Charlotte’s Web, wrote a letter to the editor

of the New Yorker calling democracy “the feeling of communion in the libraries,

the feeling of vitality everywhere.” E.B. White, The Meaning of Democracy, The

New Yorker (1943), https://www.newyorker.com/books/double-take/e-b-white-on-

the-meaning-of-democracy (last visited Dec. 18, 2023). Just as libraries of the

1930s and 1940s served as a check against extremism, today’s libraries stand ready

to fight rising tides of misinformation. CDL is a vital part of the modern library’s

arsenal in waging this battle.

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             3.    By the second half of the twentieth century, libraries began
                   to play a crucial role in advancing a more egalitarian and
                   equal society.

      The latter half of the twentieth century saw a series of concerted national

efforts to provide equal access to information for a broader range of citizens. In

1964, Congress enacted the Library Services and Construction Act with the goal of

providing federal funding for public library initiatives in underserved or

disadvantaged communities, including but not limited to the institutionalized, the

physically handicapped, low-income families, senior citizens, and ethnic

minorities. Margaret Monroe, Reader Services to the Disadvantaged in Inner

Cities, in Advances in Librarianship Vol. 2 253 (Melvin J. Voigt ed. 1971). Newly-

available funds from the U.S. Office of Education under Title II-B of the Higher

Education Act (“HEA”) facilitated national efforts to train minority librarians and

provide education for multicultural librarianship. Rosemary Ruhig Du Mont et al.,

Multiculturalism in Libraries 129 (1994). HEA Title II-B funding has supported

various programs, including institutes on ethnicity and librarianship at Queens

College, an institute at the University of Oklahoma for the improvement of Native

American use of the library, and the Institute on Public Library Service to the

Disadvantaged at Emory University. Id. at 130. These initiatives aimed to reduce

inequalities in access to information.




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II.   CDL represents a logical and reasonable next step for libraries in their
      long-standing pursuit of their missions.

      While efforts to expand and democratize the library have been successful,

inequality remains. The digital age presents new possibilities and new problems:

some members of the public have limited access to digital resources; others have

difficulty accessing physical spaces. The COVID-19 pandemic, during which

digital access to traditionally physical aspects of life became crucial, crystallized

the potential of and necessity for CDL. As libraries shuttered and people sought

knowledge and connection while in quarantine, demand for e-books surged.

Between March 2020 and April 2021, usage of e-books via the widely-adopted

Overdrive platform grew by forty-five percent, the use of digital materials by

academic libraries grew by twenty-seven percent, and the number of academic

users grew by forty-five percent. Ebook and Audiobook Usage Surges in Academic

Libraries During Pandemic, Overdrive (Apr. 13, 2021),

https://company.overdrive.com/2021/04/13/ebook-and-audiobook-usage-surges-in-

academic-libraries-during-pandemic/ (last visited Dec. 18, 2023). CDL programs

allow e-books to be read or listened to on adaptive reading devices, to be checked

out by house-bound seniors, and to be accessed by children whose local school

libraries have been shuttered by budget cuts. Just as no patron should be denied

access to library services because their library cannot afford new books or does not



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carry books in adaptable formats, no patron should be denied access to books

because their library cannot lease e-books.

      Libraries are burdened by high costs in their attempt to meet patron demand

for e-books. According to the American Library Association, publishers will often

charge libraries $55 for one copy of a popular e-book for two years, while they sell

the same e-book to consumers for about $15 for perpetual use. Nikki Davidson,

Behind E-Books, Libraries Find Restrictions and High Costs, Govtech.com (June

15, 2023), https://www.govtech.com/biz/data/behind-e-books-libraries-find-

restrictions-and-high-costs (last visited Dec. 18, 2023) . Publishers price e-books

higher for libraries, because they worry making e-books more accessible will harm

their market. As a result, libraries cannot afford to match the increasing demand for

digital books, thereby failing to meet consumers where they are today: online. Id.

      Wendy Gordon creates a compelling framework for determining fair use,

arguing that fair use should be awarded to the defendant in a copyright

infringement action when (1) market failure is present; (2) transfer of the use to

defendant is socially desirable; and (3) an award of fair use would not cause

substantial injury to the incentives of the plaintiff copyright owner. Wendy

Gordon, Fair Use as Market Failure: A Structural and Economic Analysis of the

Betamax Case and its Predecessors, 2 Colum. L. Rev. 1600, 1614 (1982).




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       Gordon’s first prong is most relevant here, as social desirability of use and

injury to copyright owners will be addressed later in the brief. Under Gordon’s first

prong, market failure in the e-book context is certainly present. All of the market

power is held by the publishers. Absent a digital first sale right, libraries cannot

simply buy e-books on the consumer market (as they would in the physical realm

by walking into bookstores and buying hard copyiesfor library use). As Dan Cohen

describes, “[m]ost libraries do not even own ebooks in the true sense of ownership.

The best they can do is to license ebooks for a limited time, or for a limited number

of circulations, before they have to pay again.” Dan Cohen, Libraries Need More

Freedom to Distribute Digital Books, The Atlantic (March 30, 2023),

https://www.theatlantic.com/ideas/archive/2023/03/publishers-librarians-ebooks-

hachette-v-internet-archive/673560/ (last visited Dec. 18, 2023). This means that

publishers can hold libraries to extremely restrictive terms, providing access to a

title essentially on a “take it or leave it” basis.

       Forcing repeated sales of the same content is a far cry from the privileged

position libraries were intended to occupy by the authors of the U.S. Copyright

Act.7 Here, market failure is evident: one side (the publishers) has such a dominant


7
 Perhaps recognizing the importance of libraries, Congress carved out an
exception for libraries in the Copyright Act of 1976. See 17 U.S.C. § 108. Even
before 1976, libraries were authorized to make non-commercial copies for decades.
With the development of technology that enabled high-speed reproduction in the

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position that they control all the terms of any sale, without any countervailing

forces to balance the market. Fair use was designed to address precisely this type

of market failure. Thus, CDL should be upheld under fair use. Otherwise, a

decision against CDL would harm the public mission of libraries and perpetuate

the existing market failure.

      A.     The digital transformation has accelerated inequality in
             information access.

      The digital transformation that characterized the dawn of the Internet era

held extraordinary promise for lovers of books, libraries, and the free flow of

information. It promised more access to more knowledge for more people. Keenly

aware of how “access and integration of technological and information seeking

skills [would] define the abilities of future individuals to attain a viable

citizenship,” librarians knew how important it would be for their institutions to

embrace digital materials to continue to fulfill their missions. Elizabeth L.

Marcoux, Information Literacy for the Twenty-First-Century Citizen, in Libraries

and Democracy 70 (Nancy Kranich ed. 2001). The promise of digital materials was



1960s, however, publishers challenged libraries’ traditional practice of making
non-commercial copies. Congress responded with Section 108, allowing libraries
to make such copies with certain limitations. Scholars and the Copyright Office
have long criticized the limitations under this provision, stressing how Section
108’s limitations are no longer practical in the digital space See generally United
States Copyright Office, Section 108 of Title 17: A Discussion Document of the
Register of Copyrights (2017).
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nothing less than “equal access to the human record in as wide a variety of formats

as possible.” Randy Pitman, Sex, Democracy, and Videotape, in Libraries and

Democracy 118 (Nancy Kranich ed. 2001)

      Despite the optimism at the onset of the new millennium, concerns grew that

the promises of the information age would not be shared democratically with all.

With the purchase of licenses increasingly facilitating digital access, the wealthiest

universities have equipped their students with thousands of licensed electronic

tools, while students at less well-endowed schools have no access to the books or

electronic databases necessary to advance their education. Nancy Kranich,

Libraries, the Internet, and Democracy, in Libraries and Democracy 83 (Nancy

Kranich ed. 2001) Many librarians lamented the fact that the vast majority of the

materials in their collections were still available only in print despite strong patron

demand for other formats. Pitman, supra, at 117.

      B.     The most effective way to address attacks against libraries is to
             strengthen the function of libraries themselves.

      In an era rife with misinformation and extremism, libraries have the power

to check the tide by facilitating access to a range of information and all views.

Consequently, libraries are frequent targets of attacks, and the news today is filled

with banned book lists, purged shelves, and even public officials advocating book

burnings. Libraries are being forced through political pressure and stochastic

terrorism to remove materials that they believe belong in their collections and to

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which their patrons need access. In the 2022-2023 academic year, there were 3,363

instances of book bans at K-12 public schools—a 33% increase from the prior

school year. Kasey Meehan, Banned in the USA: The Mounting Pressure to

Censor, Pen America: The Freedom to Write, https://pen.org/report/book-bans-

pressure-to-censor/ (last visited Dec. 18, 2023). See Alison Flood, US Libraries

Report Spike in Organised Attempts to Ban Books in Schools, The Guardian (Nov

21, 2021), https://www.theguardian.com/books/2021/nov/25/us-libraries-report-

spike-in-organised-attempts-to-ban-books-in-schools (last visited Dec. 18, 2023);

Adele Uphaus, Spotsylvania School Board Orders Libraries to Remove ‘Sexually

Explicit’ Books, The Free Lance-Star (Nov. 9, 2021),

https://fredericksburg.com/news/local/education/potsylvania-school-board-orders-

libraries-to-remove-sexually-explicit-books/article_6c54507a-6383-534d-89b9-

c2deb1f6ba17.html (last visited Dec. 18, 2023); Brooke Migdon, Movement to

Ban—Or Even Burn—School Library Books Gains Momentum, The Hill (Nov. 11,

2021), https://thehill.com/changing-america/enrichment/education/581134-

movement-to-ban-or-even-burn-school-library-books-gains/ (last visited Dec. 18,

2023); A Modern Book Burning: LGBTQ-Themed Books Removed From North

KC, Liberty Schools, The Kansas City Star (Nov. 6, 2021),

https://www.kansascity.com/opinion/editorials/article255552966.html (last visited

Dec. 18, 2023); Suzanne Perez, Goddard School District Orders 29 Books


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Removed From Circulation, KMUW (Nov. 9, 2021),

https://www.kmuw.org/education/2021-11-09/goddard-school-district-orders-29-

books-removed-from-circulation (last visited Dec. 18, 2023). As we once again

face a fundamental clash of ideologies,8 the importance of informed citizens cannot

be overstated. CDL has the power to help ensure patrons still have access to works

that might be deemed inappropriate by those in positions of authority, at any time

or place.

      The American Library Association’s decision to add democracy to its core

tenets in 2019 further affirms this belief. According to the ALA, “democracy

presupposes an informed citizenry. The First Amendment mandates the right of all

persons to free expression, and the corollary right to receive the constitutionally

protected expression of others. The publicly-supported library provides free and

equal access to information for all people of the community the library serves.”

Core Values of Librarianship, The American Library Association (2019),


8
  Contemporary efforts to ban books bear some resemblance to historical
antecedents. In Nazi Germany, many books were burned that promoted political
ideologies opposed to Nazism or embraced novel ideas of race and sexuality. In
fact, according to Jennifer Wolf, a senior lecturer of education at Stanford
University, one of the first Nazi book burnings occurred at a clinic that researched
and performed gender affirmation surgery and housed a library of books on the
subject. Carrie Spector, Stanford lecturer explores the rise of book bans, from Nazi
book burnings to school board races, Graduate School of Education (July 6, 2022),
https://ed.stanford.edu/news/stanford-lecturer-explores-rise-book-bans-nazi-book-
burnings-school-board-races (last visited Dec. 18, 2023).


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http://www.ala.org/advocacy/intfreedom/corevalues. Librarians are not alone in

this opinion. Ninety-five percent of Americans ages sixteen and older agree that

materials and resources available at public libraries play a vital role in giving

everyone a chance to succeed. How Americans Value Public Libraries in Their

Communities, Pew Research Center (Dec. 11, 2013),

https://www.pewresearch.org/internet/2013/12/11/libraries-in-communities/ (last

visited Dec. 17, 2023). Furthermore, the importance of an informed citizenry is

affirmed in many First Amendment cases. Justice Oliver Wendell Holmes’ dissent

in Abrams v. United States, 250 U.S. 616 (1919)—one of the most frequently cited

passages in First Amendment jurisprudence, despite its being a dissent—

emphasizes that the “ultimate good desired,” or summum bonum, for society, can

only be achieved through the free trade of ideas. See Andrew Cohen, The Most

Powerful Dissent in American History, The Atlantic (Aug. 10, 2013),

https://www.theatlantic.com/national/archive/2013/08/the-most-powerful-dissent-

in-american-history/278503/ (last visited Dec. 17, 2023). By removing barriers to

entry into the marketplace of ideas, we enable people to decide what ideologies are

best for them—ultimately benefiting us all. Libraries fuel an informed citizenry

that can actively engage in the marketplace of ideas and propel our democracy

forward. Limiting the public’s access to library resources is the ultimate barrier to

information-sharing and therefore to a true democracy.


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             1.     CDL has many historical analogs and does not represent a
                    radical departure from past practice.

      In the modern technological landscape, CDL serves the same fundamental

function as analog library lending. The benefits CDL can offer to the public—i.e.,

promoting access to information, furthering democracy, and enhancing equality—

resemble the benefits of analog lending, albeit with greater magnitude and further

reach. Digital lending should not be viewed as a break with the past. Rather, CDL

is the latest iteration of what libraries have always done: use available technology

to provide access to those who need high-quality information. The number of

copies that can be loaned at a given time is limited to the number of copies the

library has legitimately acquired—that is, it may only circulate the same number of

copies that it owned before digitization. David Hansen & Kyle Courtney, A White

Paper on Controlled Digital Lending of Library Books, Controlled Digital Lending

by Libraries (2018), https://controlleddigitallending.org/whitepaper (last visited

Dec. 18, 2023). By maintaining an “owned to loaned” ratio, controlling circulation

so that only one user can use any given copy at a time for a limited time, and

employing appropriate technical measures to prevent users from retaining or

distributing copies, CDL replicates the functions and controls of traditional

libraries, just in a digital format. Id. The difference is merely one of format.

      In shifting from analog lending to digital, CDL programs facilitate access for

patrons. Those who cannot travel can access material via CDL. Those researching

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obscure topics can access books that would not otherwise be available in e-book

format. Those with print disabilities can access material without having to disclose

their disability and request special access. CDL allows libraries to serve a more

diverse set of readers, creating a more just information ecosystem.

             2.     Attempts by libraries to enhance access to information
                    resources have often encountered opposition.

      As early as the fifteenth century, Johannes Trithemus expressed a reverence

for the work of scribes in the face of a move toward the printing press. See Clay

Shirky, Here Comes Everybody 68 (2008) (citing Johannes Trithemius, De Laude

Scriptorium (1492)). Similar pushback came in the eighteenth century with the

development of the commercial lending library, and again in the nineteenth century

with the advent of the free public library. When the British Parliament debated

allowing taxes to be earmarked for public libraries in 1850, several members of

Parliament expressed concern that the proliferation of public libraries would hurt

private industry. See Public Libraries Act 1850, 13 & 14 Vit c.65 (UK) (“He

objected to the Bill, because it would tend to check the efforts of private

enterprise”). Publishers and booksellers feared then (as some do now) that

increased availability of books in library collections would discourage people from

purchasing copies for their own use. Of course, circulating libraries ultimately

promoted rather than diminished the sale of books; having always been lead

purchasers of books, libraries regularly promote and generate interest in new

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publications. Spread of Education and Literacy, Encyclopaedia Britannica,

https://www.britannica.com/topic/publishing/Spread-of-education-and-literacy

(last visited Jul. 12, 2022). Today, studies show that print-book sales are actually

up 33 percent in the past 10 years.9 The last decade has demonstrated that

publishers need not fear technological change threatening their market

performance.

      Publishing companies might suggest that CDL is unprecedented, despite

CDL’s fundamental connection both to the realities of analog lending and to long-

standing library values. Such arguments over CDL mirror the ones voiced during

“the legal turmoil and societal upheaval created by the introduction of every major

innovation and communication technology—writing, the printing press, the

Telegraph, the telephone, radio, and television.” Susan B. Kretchmer, The Library

Internet Access Controversy and Democracy, in Libraries and Democracy 96, 96-

97 (2001) Indeed, they might be compared to the doomsday prophesizing brought

on by new technologies in other industries, as exemplified by the Motion Picture

Association of America’s (“MPAA’s”) anxieties about the VCR in 1982.10


9
  See Dan Cohen, supra.
10
   In his testimony before a House Judiciary Committee, Jack Valenti (then-
President of the MPAA) famously declared, “I say to you that the VCR is to the
American film producer and the American public as the Boston strangler is to the
woman home alone.” Home Recording of Copyrighted Works: Hearings Before
the Subcomm. on Cts., C. L., & the Admin. of Just. of the H. Comm. on the

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III.   A decision that prevents libraries from pursuing CDL programs would
       significantly harm libraries and, therefore, the broader public.

       Librarians at the dawn of the new millennium foresaw our current conflicts.

They feared that technological protectionist measures “could effectively reduce

libraries from repositories of valuable knowledge to mere marketing platforms for

content distributors,” where “the free flow of ideas is limited to the obsolescent

world of print.” Nancy Kranich, Libraries, the Internet, and Democracy, in

Libraries and Democracy 83, 89-91 (Nancy Kranich ed. 2001) To these librarians

on the front lines of information literacy, what was at stake was not only the

availability and affordability of information essential to the public interest, but also

the “very basis upon which local libraries serve the public’s information needs.”

Id. at 93. Such measures did not merely threaten access to information for less

privileged citizens, as even those with ample wealth and access would stand to lose

if they were to be “relegated to simply buying whatever information they need.”

Patricia Schuman, Advocating for America’s Right to Know, in Libraries and

Democracy 197 (Nancy Kranich ed., 2001). The librarians of yesteryear should be

applauded for their prescience; digital books have become something that libraries

do not own but rather borrow from the corporations that do. Daniel Gross, The

Surprisingly Big Business of Library E-books, The New Yorker (Sept. 2, 2021),


Judiciary, 97th Cong. (1982). Needless to say, Valenti’s dire warnings never came
to pass.
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https://www.newyorker.com/news/annals-of-communications/an-app-called-libby-

and-the-surprisingly-big-business-of-library-e-books (last visited Dec. 18, 2023).

But, this state of affairs is neither inevitable nor irreversible. As the latest example

of libraries deploying digital technologies, CDL programs stand poised to

ameliorate inequalities in digital access that concerned public servants decades

ago.

       Costs imposed by e-book licensing are not merely theoretical. In 2020,

Columbia University Library allocated over $3M of an annual $15M materials

budget towards its digital and electronic collection, a 36.4% increase from 2016.

Despite the fact that e-books remain a smaller fraction of most library collections,

the capital required to maintain them can be prohibitively expensive, with license

fees often clocking in at four or five times the consumer price tag. Take, for

example, Madeleine Miller’s best-selling novel Circe, for which a single library e-

book license can be as much as five times the price charged to individual buyers.

The buyer pays $16.20 per e-book copy, while the library pays $81.00, often from

taxpayer funds. Library Statistics, Fiscal Years 2016–2020, Colum. Univ. (Dec. 3,

2021), https://opir.columbia.edu/

sites/default/files/content/Statistical%20Abstract/opir_libraries.pdf (last visited

Dec. 18, 2023).




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      Disparities in e-book pricing not only prevent libraries from providing

resources to their patrons, but also perpetuate existing inequities. Unsustainable

costs reduce the capacity of libraries to provide digital content to their patrons, but

more stringent policy regimes threaten to eliminate it completely. For the many

patrons who rely on digital content, efforts to restrict access could effectively cut

them off from access to these materials. Librarians believe in celebrating the

creativity of authors, defending their autonomy, and rewarding their hard work.

While so doing, however, they want to ensure that content is available as an

information resource for the benefit of all their constituents.

                                   CONCLUSION

      To remain relevant and to continue to democratize information access,

libraries must meet patrons where they are; in the present day, that means the

Internet. Libraries have nurtured our democracy from its inception and have

changed alongside our society—evolving from private subscription models serving

only the elite to free institutions that enrich citizens without regard to race, creed,

gender, or socioeconomic status. As a cornerstone of democracy, libraries will

always be the site of cultural struggle and “a crucible for a society that is

constantly moving toward a more perfect union.” Susan B. Kretchmer, The Library

Internet Access Controversy and Democracy, in Libraries and Democracy 96, 97




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(2001) CDL is simply the latest iteration in a longstanding pattern of libraries

meeting our technological moment.

      The court is being asked to rule on copyright issues based on the specific

facts as presented. The court should approach with caution any arguments that

CDL is somehow unlawful under any circumstances. CDL is just one of numerous

innovations in library services that have been developed and implemented through

many decades and can be adapted to legal requirements. This case presents an

opportunity for the Court to make clear that libraries, acting within the law, have

the imperative to deploy technologies and build innovative services in furtherance

of broad access to information.

Dated: December 20, 2023                      Respectfully submitted,

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                         CERTIFICATE OF COMPLIANCE

      Pursuant to Fed. R. App. P. 32(g), I hereby certify that:

      This brief complies with the type volume limitations of Fed. R. App. P.

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                          CERTIFICATE OF SERVICE

      I hereby certify that I electronically filed the foregoing Amicus Curiae Brief

of Kevin L. Smith and William M. Cross in Support of Appellants and Reversal

with the Clerk of the Court for the United States Court of Appeals for the Second

Circuit by using the appellate CM/ECF system on December 20, 2023. I certify

that all participants in the case are registered CM/ECF users and that service will

be accomplished by the appellate CM/ECF system.

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